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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 GRANT HEILMAN PHOTOGRAPHY,
 INC.,
                                                       Case No.: 19-cv-04741-MMB

                                Plaintiff,

                v.

 McGRAW-HILL GLOBAL EDUCATION
 HOLDINGS, LLC, McGRAW-HILL
 SCHOOL EDUCATION HOLDINGS, LLC,

                                Defendants.


                PLAINTIFF GRANT HEILMAN PHOTOGRAPHY, INC.’S
                RESPONSE TO DEFENDANT MCGRAW-HILL SCHOOL
                   EDUCATION HOLDINGS’ MOTION TO DISMISS

       Plaintiff Grant Heilman Photography, Inc. (“Grant Heilman”), respectfully submits this

response to Defendant McGraw-Hill School Education Holdings’ (“School Education

Holdings”) Motion to Dismiss. Along with this response, Grant Heilman has filed a First

Amended Complaint removing School Education Holdings as a defendant, which is the relief

requested in School Education Holdings’s motion to dismiss. Accordingly, Grant Heilman

respectfully requests that School Education Holdings’ motion to dismiss be denied as moot.

       As Defendant acknowledges, Plaintiff’s counsel did not participate at all in discovery in

the related case of Grant Heilman Photography, Inc. v. McGraw Hill, 17-694 (E.D. Pa.) (the

“2016 Action”), which was handled entirely by the plaintiff’s prior counsel. School Education

Holdings represents that it had no role in publishing the textbooks at issue in this case. In

support of that claim, School Education Holdings cites an email exchange that it had with

Plaintiff’s prior counsel. School Education Holdings represents that Plaintiff’s prior counsel
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voluntarily amended the complaint in the 2016 Action to remove School Education Holdings

based on Defendant’s representation.

       School Education Holdings did not grant Plaintiff’s new counsel the courtesy of a similar

email representation of School Education Holdings’s non-involvement, choosing instead to file a

motion to dismiss. Had it notified Plaintiff’s counsel and provided plaintiff’s counsel with the

information contained in its motion, undersigned counsel would have likewise amended the

Complaint to remove School Education Holdings, as it is doing today. Because the amendment

provides School Education Holdings with all the relief it seeks, Grant Heilman requests that the

Court deny School Education Holdings motion to dismiss as moot.


Dated: January 15, 2020


                                                     Respectfully submitted,


                                                     /s/David J. Wolfsohn
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                                                     Attorneys for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I, Tyler Marandola, hereby certify that on January 15, 2020, I caused to be served via the

Court’s electronic filing system, a true and correct copy of the foregoing Plaintiff’s Resposne to

Defendant McGraw-Hill School Education Holdings’ Motion to Dismiss on all counsel of

record.


                                                        /s/Tyler Marandola
